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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 22-cr-161 (JDB)
               v.                            :
                                             :
JOLY GERMINE,                                :
                                             :
                       Defendant.            :

                                  JOINT STATUS REPORT

       The United States and counsel for defendant Joly Germine hereby file this joint status

report, as required by the Court’s order following the January 21, 2023 status hearing.

       1. Both defense counsel for Mr. Germine have completed their interview, as coordinated

           with the CISO, since the last status hearing in this case. The applications are still

           pending.

       2. The government is reviewing outstanding discovery at other government agencies and

           will make appropriate filings and/or disclosures in the proper forum.

       3. The parties continue to communicate regarding outstanding discovery questions from

           the defense, and the government is making supplemental productions as appropriate.

       4. There is no plea offer currently extended, though the parties have discussed potential

           guidelines ranges applicable to the charges in this case.

       5. The parties believe that in 60 days there may be more information on the status of the

           defense counsels’ clearances. Therefore, the parties request to file another joint status

           report at that time.




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       WHEREFORE, the parties respectfully request to file another joint status on June 23, 2023,

and toll time under the Speedy Trial Act until June 23, 2023.



Dated: April 19, 2022

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

                                             BY:     /s/
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